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                              UNITED STATES DISTRICT COURT
                DISTRICT OF UTAH, CENTRAL DIVISION
  ROBERT MONTGOMERY, an individual; JD
  MONTGOMERY, an individual, and CHASE
  MONTGOMERY, an individual,

                Plaintiffs,

         v.                                               WAIVER OF THE SERVICE OF
                                                                 SUMMONS
  AGENT SCOTT NESBITT, an individual;
  SPECIAL AGENT MICHELLE PICKENS, an
  individual; FBI SPECIAL AGENT JON
  ISAKSON, an individual; FEDERAL BUREAU
  OF INVESTIGATION; SALT LAKE PUBLIC
  CORRUPTION TASK FORCE; UTAH STATE
  BUREAU OF INVESTIGATION; UTAH
  DEPARTMENT OF PUBLIC SAFETY; STATE
  OF UTAH; UNITED STATES OF AMERICA;                           Civil No.: 2:18-cv-00614-CW
  JOHN DOES 1 -5                                               Judge:
                Defendants.


To:    Edward W. McBride, Jr., Attorney for Plaintiff

       I, Kyle Kaiser, Assistant Attorney General for the State of Utah, representative for State

of Utah, Utah Department of Public Safety and the Utah State Bureau of Investigation waive

service of a summons in this action along with a copy of the complaint, two copies of this waiver

form, and a prepaid means of returning one signed copy of the form to you.
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       I, or the parties I represent, agree to save the expense of serving a summons and

complaint in this case.

       I understand that I, or the parties I represent, will keep all defenses or objections to the

lawsuit, the Court’s jurisdiction, and the venue of the action, but that I waive any objections to

the absence of a summons or of service.

       I also understand that I, or the parties I represent, must file and serve an answer or a

motion under Rule 12 within 60 days from August 8, 2018, the date when this request was sent.

If I fail to do so, a default judgment will be entered against me or the parties I represent.

       DATED this 22nd day of August, 2017.


                                               /s/ Kyle Kaiser_________________________
                                               Kyle Kaiser, electronically signed by permission
                                               Assistant Attorney General, State of Utah
